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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

    Case No. SA CV 22-00099-DOC-DFM                                    Date: May 12, 2022

   Title: JOHN EASTMAN V. BENNIE THOMPSON ET AL.

   PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

       Dajanae Carrigan for Karlen Dubon                                 Not Present
               Courtroom Clerk                                          Court Reporter

          ATTORNEYS PRESENT FOR                        ATTORNEYS PRESENT FOR
                PLAINTIFF:                                  DEFENDANT:
                  None Present                                 None Present



         PROCEEDINGS (IN CHAMBERS):                       ORDER RE: BRIEFING
                                                          SCHEDULE

           On Thursday, May 12, 2022, Plaintiff Dr. John Eastman submitted his final
   Consolidated Privilege Log (Dkt. 342) to the Court and Defendant Select Committee to
   Investigate the January 6th Attack on the United States Capitol (“Select Committee”).
   There are now 601 documents in dispute that are subject to the Court’s in camera review.
   Id. ¶ 2.

         Given the urgency of the Select Committee’s investigation, the Court adopts an
   expedited briefing schedule and ORDERS the following:

             1. Dr. Eastman shall file his opening brief of no more than 40 pages by
                Thursday, May 19, 2022 at 5 pm Pacific Time.

             2. Along with his opening brief, Dr. Eastman shall file with the Court and the
                Select Committee evidence of all attorney-client and agent relationships
                asserted in the privilege log. Dr. Eastman shall also provide evidence
                documenting any attorney-client relationships that existed with his clients.
                Evidence may include engagement letters, retainer agreements, or other
                writings. The evidence shall confirm the timing and scope of each attorney
                relationship and each agent relationship, including specific named lawsuits
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                                UNITED STATES DISTRICT COURT
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                 if applicable. If there is no written documentation, the Court will accept a
                 sworn statement from an attorney, client, or agent in each relationship
                 attesting that written documentation does not exist and specifying the
                 timing and scope of the relationship.

             3. The Select Committee shall file its responsive brief of no more than 60
                pages by Thursday, May 26, 2022 at 5 pm Pacific Time.

             4. Dr. Eastman shall file his reply brief of no more than 20 pages by Tuesday,
                May 31, 2022 at 5 pm Pacific Time.

             5. Both parties’ briefings shall address higher-level objections that apply to a
                substantial number of documents, as well as document-specific objections.
                Both parties shall argue whether the documents in question are subject to
                the Court’s reasoning in its previous Order on the January 4-7, 2021
                documents. Dkt. 260. The parties may cross reference or restate arguments
                made in their previous briefings for the January 4-7, 2021 documents if
                appropriate.

         If Dr. Eastman does not find additional briefing necessary, he should notify the
   Court by Friday, May 13, 2022 at 10 am Pacific Time. Otherwise, the Court will
   proceed with the above schedule.

         Given the high volume of pages, the Court will begin its in camera review of the
   601 contested documents immediately.

         The Clerk shall serve this minute order on the parties.
                                                                   Initials of Deputy Clerk: dca/kdu
    MINUTES FORM 11
    CIVIL-GEN
